     Case 2:00-cr-80762-JCO ECF No. 334, PageID.558 Filed 09/12/08 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

DANELL SMITH,

        Petitioner,                                            Criminal No. 00-80762
                                                               Civil No. 04-70961
v.

UNITED STATES OF AMERICA,                                      Hon. John Corbett O’Meara

      Respondent.
___________________________________/

                            ORDER APPOINTING COUNSEL
                       AND SCHEDULING EVIDENTIARY HEARING


        On October 30, 2006, the Sixth Circuit issued an order reversing this court’s decision to

dismiss Petitioner’s ineffective assistance of counsel claim as procedurally barred. The court

remanded the case so that this court can consider the merits of Petitioner’s claim that trial

counsel rendered ineffective assistance by not informing him of the details of a plea bargain or

advising him whether to accept it. The mandate was issued December 5, 2006.

        On July 10, 2007, this court ordered the parties to brief the issue, detailing the factual

basis of Petitioner’s ineffective assistance of counsel claim in order to assist the court in

determining whether an evidentiary hearing is necessary. The court has determined that more

information than is currently contained in the record is needed in order to make a determination

of facts relevant to a resolution of Petitioner’s claim. Therefore, the court orders that an

evidentiary hearing be held.

        It is further ordered that pursuant to Rule 8 (c) of the Rules Governing Section 2255
  Case 2:00-cr-80762-JCO ECF No. 334, PageID.559 Filed 09/12/08 Page 2 of 2




Proceedings, counsel shall be appointed under 18 U.S.C. § 3006A to represent the Petitioner for

this hearing. The evidentiary hearing will be held on Monday, October 20, 2008, at 10:00 a.m.

in Ann Arbor, Michigan. The parties shall make arrangements for Petitioner’s appearance at the

hearing.

                                            s/John Corbett O’Meara
                                            United States District Judge


Date: September 12, 2008




I hereby certify that a copy of the foregoing document was served upon the parties of record on
this date, September 12, 2008, by electronic and/or ordinary mail.


                                            s/William Barkholz
                                            Case Manager




                                               -2-
